

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,484






EX PARTE SHANNON KELLY HUNT, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. F34964 IN THE 413TH DISTRICT COURT


FROM JOHNSON COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of burglary of a
habitation and sentenced to eight years' imprisonment. 

	Applicant contends that his trial counsel rendered ineffective assistance because he failed to
timely file a notice of appeal.  We remanded this application to the trial court for findings of fact and
conclusions of law.

	The trial court has determined that trial counsel failed to timely file a notice of appeal.  We
find, therefore, that applicant is entitled to the opportunity to file an out-of-time appeal of the
judgment of conviction in Case No. F34964 from the 413th Judicial District Court of Johnson
County, Texas.  Applicant is ordered returned to that time at which he may give a written notice of
appeal so that he may then, with the aid of counsel, obtain a meaningful appeal.  All time limits shall
be calculated as if the sentence had been imposed on the date on which the mandate of this Court
issues.  We hold that, should applicant desire to prosecute an appeal, he must take affirmative steps
to file a written notice of appeal in the trial court within 30 days after the mandate of this Court
issues.


Delivered: August 30, 2006

Do Not Publish


